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             EXHIBIT 11
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July 3, 2020

Ms. Grace Yeh
Exide Technologies
2700 S. Indiana Street
Vernon, CA 90058

NOTIFICATION OF REQUIREMENT TO PERFORM INTERIM MEASURES, EXIDE
TECHNOLOGIES, LLC, VERNON, CALIFORNIA, EPA ID. NO. CAD097854541

Dear Ms. Yeh:

The Department of Toxic Substances Control (DTSC) has determined that there is an
identifiable, immediate, and potential threat to human health and the environment from
accumulated dust at various locations throughout the Exide Technologies, LLC (Exide)
facility located at 2700 South Indiana Street in Vernon. On November 21, 2019, DTSC
sampled dust on various surfaces (shelves, counters, floors, windowpanes, stored
equipment, and girders) at seven locations at the Exide Facility. Samples were collected
within and near several buildings located on the South and West Yards; the sample
locations are shown on the attached Figure 1. DTSC received the sample results on
April 21, 2020. Sample information and laboratory results are presented on Tables 1
and 2, also attached.

Lead concentrations in the dust samples collected ranged from 10,500 milligrams per
kilogram (mg/kg) to 48,800 mg/kg, which is well above the Industrial California Human
Health Screening Level (CHHSL) of 320 mg/kg for lead. Other metals, including arsenic,
barium, cadmium, and chromium, also were detected above Industrial CHHSLs. The
results of this sampling are confirmation that an identifiable, immediate, and potential
threat to human health through inhalation and/or dermal contact exists, representing a
danger to on-site workers at the facility. A potential for off-site migration threatening
human health and the surrounding environment exists if the contaminated dust is not
removed prior to any future man-made or natural disturbances affecting the Exide
facility. Hence, DTSC hereby notifies Exide of its obligation to perform interim measures
to mitigate this threat, as required by the 2002 Corrective Action Consent Order (P3-
01/02-010) (CACO).




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Ms. Grace Yeh
July 3, 2020                                                             Page 2

Exide is required to submit an Interim Measures Work Plan (Work Plan) within 30 days
from the date of this notification for DTSC approval. (CACO, § 5.4.) The Work Plan must
be prepared consistent with Attachment 3 of the CACO. (See, CACO § 5.0.)

Should you have any questions regarding this letter, please contact me at 916-255-
3777 or Peter.Ruttan@dtsc.ca.gov. Questions from Exide’s legal counsel must be
directed to DTSC’s legal counsel, Senior Staff Counsel Peter Thyberg. Mr. Thyberg can
be reached at (916) 255-3246, or Peter.Thyberg@dtsc.ca.gov.

Sincerely,



Peter Ruttan, P.G.
Senior Engineering Geologist, Supervisor
Exide-Corrective Action/Data Management

Attachments:
Figure 1: Sample and Site Location Map
Table 1: On-Site Sample Information
Table 2: On-Site Sample Results
Laboratory Report


cc:(via e-mail)

Keith Scott, Exide                            Grant Cope, DTSC
Jully Sieglaff, Exide                         Su Patel, DTSC
Lacey Chitwood, Exide                         Matt Wetter, DTSC
Melissa Floyd, Exide                          Dan Gamon, DTSC
Tom Goslin, Weil, Gotshal & Manges            Kevin Shipp, DTSC
Judith Praitis, Sidley Austin                 Peter Thyberg, DTSC
                                              Shukla Roy-Semmen, DTSC
                                              Todd Wallbom, DTSC
                                              Dennis Ragen, AGO
                                              Margarita Padilla, AGO
                                              Anthony Austin, AGO
                                              Heather Leslie, AGO
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          Figure 1: Sample and Site Location Map




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                  Table 1: On-Site Sample Information



Sample Date   Sample ID                  Location Description     Sample Type

                                         Blue Lead Warehouse
11/21/2019    DTSC-01-DS-ON              West Yard                dust

                                         Machine Shop Interior
11/21/2019    DTSC-03-DS-ON              West Yard                dust

                                         Mobile Maintenance
11/21/2019    DTSC-04-DS-ON              Bldg.                    dust

                                         South Yard Water
11/21/2019    DTSC-05-DS-ON              Softener Bldg.           dust
                                         South Yard Employee
                                         Services Bldg.
11/21/2019    DTSC-06-DS-ON              Basement                 dust

                                         South Yard Material
11/21/2019    DTSC-07-DS-ON              Storage Bldg.            dust

                                         Engineering Bldg.
11/21/2019    DTSC-09-DS-ON              Basement                 dust




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                                                    Table 2: On-Site Sample Results Summary
ECL No.             BD01261-A              BD01262-A              BD01263-A               BD01264-A              BD01265-A            Method
Collector's No.   DTSC-01-DS-ON          DTSC-03-DS-ON          DTSC-04-DS-ON          DTSC-05-DS-ON           DTSC-06-DS-ON          Blank

Digestion Date           3/5/2020               3/5/2020               3/5/2020               3/5/2020               3/5/2020        3/5/2020    Reporting
Analysis Date        3/11/2020              3/11/2020              3/11/2020              3/11/2020               3/11/2020          3/11/2020     Limit

Matrix Type                Dust                   Dust                   Dust                   Dust                    Dust           Sand
Units (mg/kg)     Amount      Df     Q   Amount      Df     Q   Amount      Df     Q Amount        Df      Q Amount        Df     Q Amount Q
Antimony-Sb        448        250         830        500         142        50          238        250          550        500        ND            0.2
Arsenic-As         120        50          239        100          38        50           72        50           115        100        ND            0.2
Barium-Ba          308        50          471        100         421        50          315        50           356        100        ND            0.2
Beryllium-Be       ND         50          ND         100         ND         50          ND         50           ND         100        ND           0.04
Cadmium-Cd          43        50           94        100          16        50          127        50           25         100        ND            0.2
Chromium-Cr        150        50         1,200       100          79        50          132        50           199        100        ND            0.2
Cobalt-Co           38        50           46        100          15        50           30        50           ND         100        ND            0.2
Copper-Cu         1,045       50         1,090       100         436        50          525        50           519        100        ND            0.2
Lead-Pb           19,600     1,000       38,000     2,000       10,500     1,000       14,100     1,000        37,400     2,000       ND            0.2
Molybdenum-Mo       57        50          132        100          17        50           85        50           ND         100        ND            0.2
Nickel-Ni          288        50         1,140       100          73        50          102        50           124        100        ND            0.2
Selenium-Se        ND         50          ND         100         ND         50          ND         50           ND         100        ND            0.2
Silver-Ag          ND         50          ND         100         ND         50          ND         50           ND         100        ND            0.2
Thallium-Tl        ND         50          ND         100         ND         50          ND         50           ND         100        ND            0.2
Vanadium-V          26        50           37        100          35        50           18        50           25         100        ND            0.2
Zinc-Zn           29,800     1,000       8,450       500        7,700       250        32,100     1,000        5,600       500        ND            0.2
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                           Table 2: Sample Results Summary

ECL No.              BD01266-A                  BD01267-A
Collector's No.   DTSC-07-DS-ON             DTSC-09-DS-ON
Digestion Date           3/5/2020                  3/5/2020                            Reporting
Analysis Date        3/11/2020                   3/11/2020                               Limit

Matrix Type                Dust                      Dust
Units (mg/kg)     Amount       Df     Q    Amount        Df        Q   Amount   Df Q
Antimony-Sb        550        500           1,750       500                               0.2
Arsenic-As         151        100            314        100                               0.2
Barium-Ba          569        100            310        100                               0.2
Beryllium-Be       ND         100            ND         100                               0.04
Cadmium-Cd          30        100             68        100                               0.2
Chromium-Cr        129        100            110        100                               0.2
Cobalt-Co           27        100            ND         100                               0.2
Copper-Cu          462        100            661        100                               0.2
Lead-Pb           30,000     2,000          48,800     2,000                              0.2
Molybdenum-Mo      ND         100            ND         100                               0.2
Nickel-Ni          134        100            123        100                               0.2
Selenium-Se        ND         100            ND         100                               0.2
Silver-Ag          ND         100             39        100                               0.2
Thallium-Tl        ND         100            ND         100                               0.2
Vanadium-V          24        100             31        100                               0.2
Zinc-Zn           7,700       500           5,350       500                               0.2




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                    Laboratory Report:




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                            California Environmental Protection Agency
                            Department of Toxic Substances Control
                            Environmental Chemistry Laboratory
                            757 S. Raymond Ave. , Suite 105, Pasadena, CA 91105
                            Telephone: (626) 304-7801

                                                                                                            Page 1 of
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                   Authorization No.: l 9SC0064-S
                                            ----------------------
                         ECL No(s).: BD01261-BD01267

                  Requestor's Name: Dan Gamon
                                            ----------------------
                           Address: 8800 Cal Center Drive, Sacramento, CA 95826-3200

                  Sampling Location: Exide Technologies
                                           -------'"-----------------
                           Address: 2700 South Indiana Street, Vernon, CA 90058



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              Sample Receipt Checklist                                                                       17-1 8

              Email Correspondance                                                                           19-21

              Airbill                                                                                         22
                           ----- ----- --- -- -- ---------- --- ------ -- ------------------·
              The results listed within this report pertain only to the samples tested in the
              laboratory. These results have been reviewed for technical correctness and
              completeness. This report was reviewed and approved for release.


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                                                                                    ;                                  O~l/~ n oze)
Mario Vino:;/r.                            Date                                 Scott Giatpaiboon                      Date
Research Scientist II                                                           Research Scientist II
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                         ----------------
          ECL No(s).: BD01261-BD01267                                                             Page 2 of     22
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Sample(s) History:
Tum-Around Time (TAT):                        Priority 3 (45 Days)
Date(s) Collected:                                11/21/2019
Date(s) Received:                                 11 /22/2019
Date(s) Extracted/Digested:                         3/5/2020                   Test Method:      04.3050.00
Date(s) Analyzed:                                  3/11/2020                   Test Method:
                                                                                              ----------
                                                                                                 04.6010.00




Case Narrative:
    1. Initial calibration and continuing calibration criteria were met?               0    Yes    D No
     2. Initial and Continuing Calibration blank criteria were met?                    0    Yes    D No
     3. QC parameters were within control limits?                                       D Yes      0   No

     4. Sample holding time was met?                                                    0   Yes     D No



Comments:
If any of the above answer is "NO" please explain in detail.
3
 MS and/or MSD recoveries for antimony (Sb), barium (Ba), lead (Pb), and zinc (Zn) in sample BD01266-A were
outside of the control limits. However, dilution test results for antimony (Sb), barium (Ba), and zinc (Zn) were
within the control limits. Post Spike result for lead (Pb) was within the control limit.




Sample Prepared by:                                            Sample Analyzed by:
/"""". /\ -
~/~
Hae Lee
                       fe-r         L// {7 f 2,-P l.,,rJ
                                     Date
                                                                ~
                                                               Hae Lee
                                                                           1h--:::: .fp v                     'ii t 7/ Zol-o
                                                                                                              Date
Research Scientist I                                           Research Scientist I
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     ECL No(s).: BD01261-BD01267                                                Page 3 of     22
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                                   Acronym Definitions

     µg/kg                Micrograms per kilogram; parts per billion (ppb)
     µg/L                 Micrograms per liter; parts per billion (ppb)
     Dr                   Dilution Factor
     LCS                  Laboratory Control Sample
     LCSD                 Laboratory Control Sample Duplicate
     MB                   Method Blank
     mg/kg                Milligrams per kilogram; parts per million (ppm)
     mg/L                 Milligrams per liter; parts per million (ppm)
     MS                   Matrix Spike
     MSD                  Matrix Spike Duplicate
     ND                   Not Detected; value at a level below the qua·ntitation limit
     PS                   Post Spike
     Q                    Qualifier Flag
     QC                   Quality Control
     QL                   Quantitation Limit= Reporting Limit x Dilution Factor
     RPD                  Relative Percent Difference
     RT                   Retention Time
     STLC                 Soluble Threshold Limit Concentration
     TCLP                 Toxicity Characteristic Leaching Procedure
     TPH                  Total Petroleum Hydrocarbon
     TTLC                 Total Threshold Limit Concentration
     WET                  Waste Extraction Test

                                   Qualifier Definitions

     B                    Analyte found in MB
     J                    Estimated value
     M                    Spike recovery below control limit
     M2                   Spike recovery above control limit
     NC                   Not Calculated
     p                    Post Spike recovery below control limit
     P2                   Post Spike recovery above control limit
     R                    Relative Percent Difference (RPD) exceeded control limits
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ECLNo.                                  BD01261-A                    BD01262-A                 BD01263-A                BD01264-A                BD01265-A
Collector's No.                                                                                                                                                       Method Blank
                                     DTSC-01-DS-ON                DTSC-03-DS-ON             DTSC-04-DS-ON            DTSC-05-DS-ON            DTSC-06-DS-ON
Digestion Date                            3/5/2020                     3/5/2020                  3/5/2020                3/5/2020                 3/5/2020              3/5/2020       Reporting
                             --
Analysis Date                            3/ 11/2020                   3/11/2020                 3/11/2020                3/11/2020                3/ 11/2020           3/11 /2020        Limit
                         -       ---
Matrix Type                                    Dust                        Dust                      Dust                     Dust                     Dust               Sand
      - --
Units (mg/kg)                        Amount            Dr    Q Amount             Dr    Q Amount I Dr j Q Amount                     Dr     Q Amount          Dr    Q Amount IQ
Antimony-Sb                            448            250- , -     830            500         142           50 .0      238           250        550           500        ND               0.2
-- --
Arsenic-As                             120            50.0         239            100         38.2          50.0       72.0          50.0       115           100       ND                0.2
Barium-Ba
                                                                                        -
-
                                       308            50.0         471            100         421           50.0       315           50.0       356           100        ND               0.2
Beryllium-Be                           ND             50.0         ND             100         ND            50.0       ND            50.0       ND            100       ND               0.04
Cadmium-Cd                             43.0           50.0         93 .7          100         15.8          50.0       127           50.0       25.4          100       ND                0.2
Chromium-Cr                            150            50.0       1.20E+03         100         78.5          50.0       132           50.0       199           100       ND                0.2
              -                                                                                                                                                               -   I-   - -- -
Cobalt-Co                              37.8           50.0         46.3           100         15.3          50.0       30.4          50.0       ND            100       ND                0.2
                      -- --
Copper-Cu                            l.05E+03     50.0           l.09E+03         100         436           50.0       525           50.0       519           100       ND                0.2
Lead-Pb                              l.96E+04     1000           3.80E+04     2000          l.05E+04    1000         l.41E+04
                                                                                                                                                                                   -
     -                                                                                                                           1000         3.74E+04 2000             ND               0.2
Molybdenum-Mo                          56.5       50.0             132            100         16.8      50.0           84.5      50.0           ND            100       ND               0.2
-                 -          -
Nickel-Ni                              288        50.0           l.14E+03         100         73.0      50.0           102       50.0           124           100       ND               0.2
- --
Selenium-Se                            ND         50.0             ND             100         ND        50.0           ND        50.0           ND            100       ND               0.2
- - -- - -                       -
Silver-Ag                              ND         50.0             ND             100         ND        50.0           ND        50.0           ND            100       ND               0.2
          -
Thallium-Tl                            ND         50.0             ND             100         ND        50.0            ND    50.0              ND            100       ND               0.2
          -                                                                                                                                                                              -- -
Vanadium-V                             26. 1      50.0             36.6           100         34.6      50.0            18.4  50.0              25.3          100       ND               0.2
Zinc-Zn                              2.98E+04     1000           8.45E+03         500       7.70E+03        250      3.21E+04 1000            5.60E+03        500       ND               0.2
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ECLNo.                              BDOl266-A               BD01267-A
                      ----               --           I- - -
Collector's No.                 DTSC-07-DS-ON            DTSC-09-DS-QN
                      -       -- ------ -                 ---
Digestion Date                     3/5/2020                   3/5/2020
                      -       ---   - - - - - -1- -
                                                                                                                                                                              - - -1
                                                                                                                                                                                                   Reporting
Analysis Date                       3/ 11 /2020        3/11/2020                                                                                                                                     Limit
               --                   ----- -            ------         - - - - - - - - - - -1- --    - - - - -1-        - - - - - -- 1- - - - - - - - -
Matrix Type                          Dust                 Dust
Units (mg/kg)             -     Atno~t I      D-;-QAtnount I - D- r~IQ- i--Atn
                                                                           - ount I Dr I Q Atnount I Dr I Q Atnount I Dr I Q Atnount
                                                                                                                                                   Dr Q
Antimony-Sb                      550 · +-----
                                          500     l.75E+03     500
                                              - -   _ _ ___,__     _,__
                                                                          - - - - - -- -- 1- - - - - + - - - - + -- 1- - - - - - --+-- 1- - - - -      ~                                         ---
                                                                                                                                                                                                     0.2
Arsenic-As                       151      100        314       100
Bariwn-Ba                        569      100        310       100
                                                                                                                                              · - ----                                     f--   -- 0.2     --

                                                                     - 1- - --- +--+--l- - - --l---+--l- - - - - l - - - 1 - -11- - - - l - -                                                       0.2
Beryllium-Be                     ND       100        ND        100
                                                                                                                                                                                           ~
                                                                                                                                                                                                 -
                                                                                                                                                                                                    0.04
Cadmium-Cd                        29.9        100          68.1       100
                                                                                                                                                                                            _ ,_     0.2
        --
Chromium-Cr
             --               - - - - - + - - - - 1 - -1- - - - - l - - - - - + -l- - - - 1 - - - + - - - -1 -- - - - l - - - l - - 1- - - - + - - - - - l - -1- - - - - - 1 - -
                                  129         100          11 0       100                                                                                                             --             -      -
           ---                      - - ~ ~ - - - - + - - - - - l - - -1- - - - - + - - - - - 1 - -1- --          - - 1 - - - 1 - -11- - - - + - - - - - 1 1 -1- - - - + - - - - ~ -
                                                                                                                                                                                                     0.2
Cobalt-Co                         26.5        100          ND         100
                                                                               l- - - - 1-- - - - 1 - - - - - - - - + - - - - 1 -li - -- - - - - 1 - - - - 1 1 - -1- - - - - l - - - ~ - -
                                                                                                                                                                                                     0.2
                                                                                                                                                                                                    ---
Copper-Cu                         462         100          661        100                                                                                                                           0.2
- - ·---
Lead-Pb
           -    -- -            - - -l- - + - - -1- - - - + - - - -
                               3.00E+04 2000            4.88E+04 2000
                                                                               1-- - - - + ----1---11- - - - - - 1 -         --l---+ - - - - - - 1 - - - 1 - - -1- - - -
                                                                                                                                                                             --                  - -0.2 -
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Mo!ybdenum-Mo_            ,_       ND         100          ND     _ lO_O-+--l- - - - -1---1---i- - - - 1----+--l-----1---1--i--------j--...__ - -~-2
Nickel-Ni                           134       100           123     100                                                                                                      0.2
                                       ---!--_,___,____ -+----l- - l -- - - - + - - + -l- - - - - l l - - -1- 1- - - - - - l - - - - - + - -l- - - - - - 1 - - - 1 - - -1- - - - -
Selenium-Se                        ND         100          ND       100                                                                                                      0.2
                  -           - -----+-----1-----11---1- ----1---1-- l- - - - - + - - + -1- - - - - 11----!--I- - - - - + - --+---
Silver-Ag -                        ND         100          39.3     100                                                                                                      0.2
                              - --- - -     -   - + - -l- - - - -l-----1-- 1, - - - --1-- - - - l- - - - - 1 - - - - + - -1- - - - - - - 1 - - - + - - - - - - - +- -
Thallium-Tl                        ND         100          ND       100                                                                                                      0.2
                              -         -- -    -r--- - - -
Vanadiwn-V                         24.3       100          31. 1
                                - - - - ~--+--1- - - - - j 100                                                                                                               0.2
                                                                                                                                                                           - l-----         -    - - -
Zinc-Zn                         7.70E+03 500            s.35E+03 sop                                                                                                         0.2
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Quality Control
Parameter                                                                Laboratory Control Sample (LCS)
- --
Digestion Date                                                                         3/5/2020
Analysis Date                                                                         3/11/2020
--- - -        --
Matrix Type                                                                              Sand
                -                              --
                                 -
                                                  LCS                                 LCS Duplicate                                Control Limits
                                     Spike     Amount                        Spike     Amount                       RPD
                                                              Recovery                             Recovery                      Recovery      RPD
                                     Added    Recovered                      Added    Recovered
Units (mg/kg)                                                   %      lo                              %      lo   %      lo        %           %
Antimony-Sb                           150        148           98 .3          150         147         98 .0        0.3           80-120%       0-20
               - -           ---
Arsenic-As                           1000        960           96.0          1000         965         96 .5        0.5           80-120%       0-20
-- - - -                                                  -                                                                                         --
Barium-Ba                            1000
                    - - -1.01E+03
                        -
                                  101
                           - - -- -   -                                I--
                                                                             1000      1.01E+03       101          0.5           80-120%       0-20
Beryllium-Be     200        199   99.5                                        200         200         99.8         0.3           80-120%       0-20
             - - - - - - - -- -                                                                                                                       -
Cadmium-Cd                           1000        985           98.5          1000         985         98.5         0 .0          80-120%       0-20
                                       --
Chromium-Cr
           ----                  - 1000
                                   - - - l.01E+03              101           1000      l.02E+03       102          0.5           80-1 20%      0-20
Cobalt-Co                            1000     1.04E+03         104           1000      l.05E+03       105          0.5           80-120%       0-20
       - --         -                --
Copper-Cu                            1000        990           99 .0         1000         990         99.0         0.0           80-120%       0-20
 -     -            -
Lead-Pb                              1000      l.02E+03        102           1000      l.03E+03       103          0.5           80-120%       0-20
           - -- -
Molyl'~enum-Mo                       1000     l.02E+03          102          1000      1.02E+03       102          0.5           80-1 20%      0-20
                                                              -                                                           I---

Nickel-Ni                            1000     l.05E+03          105          1000      l.05E+03       105          0.5           80-1 20%      0-20
- --            ·-                                        --
Selenium-Se                          1000        980       98.0              1000         980         98.0         0.0           80-120%       0-20
--             ·-            --                             -
Silver-Ag_                            150        147           98.0           150         148         98.3         0.3           80-120%       0-20
                                                          --
Thalliwn-Tl                          1000        995           99.5          1000         995         99.5         0.0           80-120%       0-20
--~---                      --
Vanadium-V                           1000     1.00E+03         100           1000     l.OOE+03        100          0.0           80-120%       0-20
Zinc-Zn                              1000     1.00E+03         100           1000     1.00E+03        100          0.0           80-1 20%      0-20
                    Case 20-11157-CSS                                         Doc 950-11                         Filed 10/13/20                  Page 15 of 30
                                                                               laboratory Report - Metals


Authorization No.: l 9SC0064-S
                       ----------------
      ECL No(s).: BDOJ261-BD01267                                                                                                                             Page 7 of _ _2_2_ _




            Quality Control
                                                                                                 Sample Duplicate Analysis
            Parameter
            - - - - - -1- - -- -                                           - - -- - - - - -- - -- - ---- - - - -- 11
            Digestion Date                                                                                       3/5/2020
          11- -- - - - -1-- - --                                       -           --·                                              - -- - -         ---
            Analysis Date                                                                                      3/ 11 /2020
                                            - - ;- - - -·- - --                             --                                                   - -----
            Matrix Type                                                                                              Dust
          ll--- - ~~ - - - ·1- - -- --                                         -     -      ,-    --                                                    - ,- - - - -11
                                                                                                                                                              Control
            ECLNo.                                         BD01267-A                                    Duplicate                         RPO
                                                                                                                                                              Limits
            Units (mg/kg)                                Amount                I Dr                Amount                I Dr            %          l o-        % ·-
            Antimony-Sb                                 I.75E+03               l 500              1.88E+03                  500          6.9        I           0-20
            Arsenic-As                                       314               I I 00
                                                                                l 00                   346                               9_.7__ ___!......____.,_ _0_-2_0__ _
            Barium-Ba                    310       I 00          299            I 00                                                     3.6                       0-20
            Beryllium-Be
                                  - - - - - ----+- - -+- - - -
                                         ND        100           ND
                                                          · -- - -- + - - -1-
                                                                                100
                                                                                                                                     -
                                                                                                                                                    JNc~0·-
            Cadmium-Cd                   68.1      100           66.2           100                                                      2.8                    0-20
            Chromium-Cr                  110     1 100           92.4           100                                                      17.4                   0-20
            Cobalt-Co                    ND        JOO           ND            100                                                                   NC
                                                                                                                                                                0-20
          1
           ~C_o_p_p-er--C
                        - u- ----jf---- 6-6__I___ 100
                                                                 634
                                                                              I
                                                                           1 100                                                         4.2                0-20
            Lead-Pb                              1
           ,___ -                     4.88E+04 200_    0 ,_ 5_.9_6_E_+_04_ ,__2_0_00_ ~                                                  I9 9             ----
                                                                                                                                                            0-20___
           Molybdenum-Mo                                     ND                    l 00                ND                    I 00                       c   0-20
                                               + - - - - -+---1- · - - -___j-~
           Nickel-Ni                                         123                   100                  118                  100            1                   0-20
          II- ---     - -- ---,- - -- --                                       ~            1- - - - --+-----1                                            --           - -
           Selenium-Se                                       ND                    I 00                ND                    l 00                               O 20



          ::~
          11
            ;__=~-~:~~
                    -~-~~~A
                         -~~-:--~:V
                                  _l----~----                                                                                 ~:~ ·--U-~ ~:~~ ~
                                           - - -•o-----_-5-_=3:-~~=-~- 0-3-~:- 5-:~-~- '.--~---5--_-J_;-0-~-~-:~0-3: :.,l_-_5:-
                                                        Case 20-11157-CSS                 Doc 950-11          Filed 10/13/20         Page 16 of 30
                                                                                            Laboratory Report - Metals
             Authorization No.: 19SC0064-S
                   EC L No(s).: BD01261 -BD01267
                                                       ------------------                                                                                                    Page 8 of
                                                                                                                                                                                         - -22- -


Quality Control
Parameter                                                                                Matrix Spike/Matrix Spike Duplicate (MS/MSD)
-                              -                                                                                                                                                 -
Digestion Date                                                                                                      3/5/2020
                       -                                                                                                                                                                         -
Analysis Date                                                                                                      3/11/2020
    --                     - ·
                                                                                                                                                                                             -           -
Matrix ! ype                                                                                                          Dust
                       -
                                                                        Matrix Spike (MS)                           Matrix Spike Duplicate (MSD)
                                                                                                             - -                                                            - -Control
                                                                                                                                                                                - - - -Limits
                                                                                                                                                                 RPD
ECL No.                        BD01266-A                Spike        Amount              Recovery             Spike       Amount           Recovery                          Recovery            RPD
                                                        Added       Recovered                                 Added      Recovered                                                               -
Units (mg/kg)                      Amount                                               %       I Dr    lo
                                                                                                        M2
                                                                                                                                          %      I   Dr    lo    %     lo       %                    %
Antimony-Sb                              550             150              800           167       500          150             720       113         500        38.1   R
                                                                                                                                                                              75-125
                       - f--- - - -                                                                                                                                                      - 0-20
                                                                                                                                                                                            - -
Arsenic-As                               151             1000           1.07E+03       91.9       100          1000          l.03E+03    87.9        100        4.4           75-125             0-20
                                                                                                        M
                                                                                                                                                                                                             -
Barium-Ba ..                         569                 1000           l.18E+03       61.1       100          1000          l.12E+03    55.1        100   M
                                                                                                                                                                10.3          75-125             0-20
                   -       -             --                                        -
Beryllium:Be                         ND                  200              188          94.0       100          200             183       91.5        100        2.7
                               - --                - --         -                                                                                                      - - 75-125
                                                                                                                                                                            -
                                                                                                                                                                                   0-20
Cadmium-Cd                           29.9                1000             989          95.9       100          1000             957      92.7        100        3.4        75-125  0-20
-            - -·          ~

                                                                                                                                                                                - -- --
Chromium-Cr                              129            1000            1.05E+03       92.1       100          1000          l.03E+03    90.1        100        2.2        75-125  0-20
    ______-,_- -26.5
Cobalt-Co                                               1000              972          94.6       100          1000             937      91.1        100        3.8
                                                                                                                                                                              - -
                                                                                                                                                                              75-125
                                                                                                                                                                                  . .
                                                                                                                                                                                                 0-20
                                                                                                                                                                                                             -

Copper-Cu                            462                1000            1.48E+03       101.8      100          1000          l.43E+03    96.8        100        5.0           75-125             0-20
                           -                               -                                                                                                                             -               -
Lead-Pb                            3.00E+04             1000            2.88E+04                        M                                                  M           R
--                                                                                     -120      2000          1000      2.96E+04        -40.0   2000           100           75-1 25            0-20
                                                                                                                                                                                         -           -
Molybdenum-Mo                        ND                 1000              966          97.5       100          1000            945       94.5        100        3.1           75-125             0-20
                                               -                    -        --                                                                                        I-                        -
-Nickel-Ni                 -
                                         134
                                          -
                                                        1000            l.08E+03       93 .6      100          1000         958          89.6        100        4.4           75-1 25
                                                                                                                                                                                       -
                                                                                                                                                                                                 0-20
Selenium-Se                          ND                 1000              866          94.6       100          1000      l.08E+03        91.8        100        3.0           75-125     0-20
                                                                                                                                                                                - -   - -
Silver-Ag                            ND                  150              ND           98.0       100          150             884       96.0        100        2.1           75-125     0-20
               -       -   -         -                                                                                                                                      - -- - - - -
Thallium-Tl                          ND                 1000           900             88.6       100          1000            ND        85.7        100        3.3           75-125     0-20
 -       -  -                                      -   - --         - --   --                           ~
                                                                                                                                                                            - - --
Vanadium-V                           24.3               1000               954         97.0      100           1000            902       93.8        100         3.4          75-1 25    0-20
                                                                                                                                                                            -              --
Zinc-Zn                          7.70E+03               1000            8.48E+03       85.0      500           1000            944       60.0        500   M
                                                                                                                                                                34.5   R
                                                                                                                                                                              75-125             0-20
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                 ------------------
      ECL No(s).: BD0126l-BD0l267                                                  Page 9 of   22




                 Quality Control
                                                Dilution Test (Dr= 5)
                 Parameter
                 Digestion Date                          3/5/2020
                 Analysis Date                           3/ 11 /2020
                 Matrix Type                               Dust
                                                                                 Control
                 ECLNo.             BD01266-A    Diluted               RPO
                                                                                 Limits
                 Units (mg/kg)       Amount     Amount                 %     Q     %
                 Antimony-Sb           550         575                 4.4        0-20
                 Arsenic-As                                                       0-20
                 Barium-Ba             580         603                 3.8        0-20
                 Beryllium-Be                                                     0-20
                 Cadmium-Cd                                                       0-20
                 Chromium-Cr                                                      0-20
                 Cobalt-Co                                                        0-20
                 Copper-Cu                                                        0-20
                 Lead-Pb                                                          0-20
                 Molybdenum-Mo                                                    0-20
                 Nickel-Ni                                                        0-20
                 Selenium-Se                                                      0-20
                 Silver-Ag                                                        0-20
                 Thallium-Tl                                                      0-20
                 Vanadium-V                                                       0-20
                 Zinc-Zn            7.70E+03    8. 15E+03              5.7        0-20
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                    ------------------
     EC L No(s).: BD0 126 1-BD01267                                           Page 10 of
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       Quality Control
                                                    Post Digestion Spike
       Parameter
       Digestion Date                                      3/5/2020
      Analysis Date                                       3/11/2020
      Matrix Type                                            Dust
                                              Spike       Amount                            Control
      ECL No.              BD01266-A                                       Recovery
                                              Added      Recovered                          Limits
      Units (mg/kg)                                                     %      I Dt IQ        %
      Antimony-Sb
      Arsenic-As
      Barium-Ba
      Beryllium-Be
      Cadmium-Cd
      Chromium-Cr
      Cobalt-Co
      Copper-Cu
      Lead-Pb               3.00E+04        4.00E+04      6.78E+04    94.5     2000         75-120
      Molybdenum-Mo
      Nickel-Ni
      Selenium-Se
      Silver-Ag
      Thallium-Tl
      Vanadium-V
      Zinc-Zn
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                                           Em iro11m e11tal C hl·m istry Laboratory (ECL)
                                 Rc\'iew of Req uests, Proposnls, and Contrac ts Checkli sl

    Cil! 11 era I "1/iJJ'/1/ ll tio 11

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   ARF Proposal
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        ~     Sq,.1rare ..:,, ,11:1in,:r~ 1;,r ll" ll ;ol:1'. ik ,,rg:mi: to.·s• 111..:•h,,d ; and i1!1' !')!'.?!1i, 1.:s• 111,: 11!,,d s.
    (.\1111111i.:111~:




   DCN· 07.0 LG2.00 _Rev 5_ 11/6/20 l 8_Approve d by QMO                                                                                         Pdge l of 2
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                                E11\'iro11111c11lal C hemistry Lnuorntor.\ (ECL)
                        RcYic" of l{cqucsts, Proposals, and C ontracts Checklist

 [2J'Rc\ icw danl\ ,1111,,ulll{sJ or rnlu111c(s) r.:quir.:cl for c:1d1 rcqucst..:J 1..:,1 111.:thnd
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          organic nmilyse~. etc.)
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DCN: 07.0 LG2.00_Rev 5 11/6/20 18 Approved by QMO                                                                         Page 2 or 2
                                            Case 20-11157-CSS                             Doc 950-11                Filed 10/13/20                   Page 21 of 30



State of California                                                                                                                                                          Department of ToxfC Su bs·t ances Control
Envlronmental Prctecrlon Agency                                                                                                                                                  Environmental Chemistry Laboratory

                                                                            AUTHORIZATION REQUEST FORM (ARF)

Part A: Requestor's information
    Requesto~s Name:         Dan Gamon                                   Email:     daniel.gamon@dtsc.ca.gov                              Phone: 9162553630                    ~      SUPPLEMENTAL
                                                                                                                                                                              (Check if Supplemental Requested)
                                                                                                                                          Phone: 9 162556629
    Back-up Requestor:
                             -Matt Wetter                    --          Email:     matthew.wetter@dtsc.ca.gov
    Site Name:                Exide Vernon, CA
    Expected Sample Arrival Date: 11/21/2019
    Turnaround Time (TAl) :    'Rush         0
                                           ' Level 1               D       2 ~           30                 ·unit chiefs approval required(for Rush or TAT Level= 1):
           Project ID:      DTSC301864-63                                 Aclivily ID:   11037                                     MPC:

Part B: Project Objective(s) or QAPP (Questions? ECL Point of Contact: ECL Sample Management Officer at SMOFF@dtsc.ca.gov. (510) 540-3111)
                      Controlled storage and retention al ECL Pasadena for up to 1 year. Periodic samples will be collected during 2020 as demolition and closure work allows
    Project           access to samples.
    Objeclive:
    Special           We have decided to go ahead with the following samples to be run using the ICP method 6010 for now on the following dust and dirt samples: 1. 8001261-A
    lnformtion:       2. 8001262-A 3. 8001263-A 4. B001264·A 5. B001265·A 6. BD01 266-A 7 . B001267·A

 Part C: Analysis Information
                                                                                                                                              Number of                     Comments
                          Analysis Name                                             Test Code                             Matrix
                                                                                                                                              Samples
         Melals- lCP Metals Scan(16 Metals, no Mercury)                            EPA6010D                               Dusi                   7


-
                                                                                                                                                                                            ---

-                                                        .
-                                                                    -
-


 Part 0: (By SMO - ECL)
           Authorization Number (AN)       I19SC0064-S                                                              I
           Lab to Receive Sample(s)         Environmental Chemistry Lab-Southern California
                                            757 S. Raymond Ave., Suite 105, Pasaden a, CA 91 105
                                            Attn: Scott A. G iatpaiboon (626)639-0286
                                                                                                                              Sample Management Officer (SMO)      Francisco Montalvan
                                                                                                                                                  Expirallon Dale 3/18/2020                          (mm/ddlyy)
           ARF Approval Date        3/4/2020                         (mm/ddlyy)
           ARF Revision Date                                         (mm/dd/yy)                                                                  ARF Revised by

    Turnaround Time (TAT):     • Rush   for public   health and safety or emergenci; "Level 1 • 15 days,   2 = 30 days,    3 = 45 days.
    NA-Not Applicable
                                                                                                    Page 1 of 1                               07.0145.00_rev 1_9/10/2018_Approved by Quality Management Officer
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State of Californi a                                                                                                                          Department of Toxic Substances Control
r::ofifnrni:> FnvirnnMont~, Drn to~tinn t.nonc,v                                                   )'../.{ C .3 / "/ / 2.0 Z.O                   Environmont~I Chemistrv I ~hnr~tnn,
 ENVIRONMENTAL CHEMISTRY LABORATORY                                                    1. Authorization Number                       ECL No.:        5 Do /1.v I                   I 2. Page
 SAMPLE ANALYSIS REQUEST                                                                       19SC0064 -S                                    To BD Ql 2. ( i "1                   L!__ of_::__
 3. Requestor:(to Receive Results)              a. Name:           _D_a_n_G_a_m_o_n_ __ _ __ _ _ _                            4. Project Name (if applicable):
                                                                                                                              1
 b. Address: BBOO Cal Center Drive                                                                                                              EXIDE TECHNOLOGIES
                  _;S..;.
                      a_cr_a_m_e_n_
                                  to"-,C
                                       __A_9_5_
                                                              - - - - - - -- (slreotrunber)
                                              B2_6_-3_2_0_0_ __ __ __ _ _ _ (city, otato. zip!
 c.      Phone:   (916) 255-3630 (a, . . codo r,m)                       d. Fax:                      (areacodomt)                5.TAT Level:                     3
 e. Email:                     daniel gamor:                        @disc.ca.gov

 6. Sampling Information:                         a. Datemme Sampled: ~ (mm/dd/yy)                                            7. Codes (selectfromdropoo,m list orfiD ;,, napplicable)
 b. Location: EPA ID No.               CAD097854541                                 ~                 (#:##AM/PM) a. Unit                        _S_M_R_P_-_E_xi_d_e_ __ __
                  Site:                Exide Technologies                                                                     b. Project ID DTSC301864
                  Address:             2700 South Indiana Street                                     (street number)          c. Activity ID _1_10
                                                                                                                                                 _3_7_ _ _
                                       Vernon, CA 90058                                                                       d. MPC
                  GPS-Lat:             34.005939                       GPS-Long: -118.19482
                                                                                                     (city, state. zip)
                                                                                                                              e. County
                                                                                                                                                 -63 - - - ----
                                                                                                                                                  19-Los Angeles
                  GPS-Alt:                                             GPS-Depth:
 8. Samples:                                                                                                                      f. Number of
 a.ID b. Collector's No.               c. ECL No.                   d. Matrix          e. Container Size                            containers a. Preservative/ Field Information
     1 DTSC-01 -OS-ON                  V..On \L f..1 1 · 1-l        Dust            Ia oz clear glass jar                                 1      Collected 11/21/1 g 0835
     2 O-T-SC--02-DS=ON-          f- -                              Dust           · 8 oz clear alass iar -                               1                                 =-           - _,-      "

     3 DTSC-03-DS-ON                lr..r.. " 11 1,2 - A-           Dust               8 oz clear glass Jar                               1      Collected 11/21/ 19 0900
     4    DTSC-04-DS-ON                Rn o p,      ,t .   a        Dust               B oz clear ala.ss tar                              1      collected 11/21/19 0915
     5    DTSC-05-DS-ON                R.--.o riu~ - A              Dust               8 oz clear glass Jar                               1      Collected 11/21/ 19 0938
     6 DTSC-06-DS-ON                1t." " •1, r:-A                 Dust               8 oz clear alass l ar                              1      collected 11/21/ 191248
     7    DTSC-07-OS-ON                ' p () )1.t,II -A            Dust               8 oz clear glass jar                               1      Collected 11/21/19 1306
 - 8- DTSC-08-DS-ON                                                 Dust               8 oz clear glass Jar                               1                             .                - -,..,., ...
     g DTSC-09-DS-ON             'bD01 z.«1 - A Dust              B oz clear alass lar                                                    1          -'- /1(,   k .1   11/i 1/   t C: 'i( /')-
 9. Analysis Requested: Ent~r s'.lmpl IDs and sampl11 ID ranges separated by commas. For exampl e, 1-3, 5-7, 9                                              F-
1-a-. -ln-o-rg._a_n_lc_A_n.,_a_ly-s-is----------....----S-a_m_p_le
                                                                 - (-s)...I-D----.,.b-.-0-r""
                                                                                           g'""
                                                                                             an-l-c-A-n-al-ys-i-s---'-----'------.--S-a-m-p-le-(s-)-ID-...j I
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 Other Melals:    !
c. TCLP Analysis                                                                                     d. Other Analysis

-              - - - - -- -- - - - -- -                                                              Semple-Storage-and-Retelllion

            - - - -- - - -- - -- -+-·- - - -- ---- -,--- -
e. Comments for Multlphaslc Samples/Analysis Priority:
10. Analysis Objective:                Site Characterization

11. Detection Limit Requir ements:
          NA                                                                                                                        . .
12. Supplemental Requests: Enter sample IDs as described in Item 9                                                 ~          13. ECL Lab Remarks:                                                      L
Desired Analysis                                                   ISample(s) ID                                    E
                                                                                                                    C                                                                                   A
NA                                                                                                   Initials       L
     -    --- - - - -                                                                                                                                                                                   D
                                                                                                      Date         t
14. Chain of Custody:
                  Name             I                       Title                   I ./\                itfbnature                               I       Inclusive Dales of CJJslodv




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I    Book#: BK0553
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I                             Environmental Chemistry Laboratory - Pasadena
                                             Sample Receipt Checklist

I    Authorization Number and ECL Assigned Number (s):
                                                                        Date Received: _I _
                                                                                          I_ /           J. L /_lj_
            19SC0064                                                    Time Received:              JO ·10 #-l

         JBD0l26l-BD0l275                                                 Recorded by:         to.~c(l yl-v7,:-
     Samples and Containers                                                Yes          No    If No , specify
     Sample temperature range:            I zo b - 2,2. .1        cc
I    Custody seal present on samples?
     Sample containers received in good condition?
                                                                          /
                                                                              /
                                                                              /
I    Samples received in proper container?
     Sample IDs clearly labeled and legible?                              /
     Cooling Packing Material Ice                  Cooling Pack                   Other (Specify)                NIA      /
f   Record Review (ARF Checklist, ARF, SAR. etc.)                         Yes    No If No , specify
    Do the ARF & SAR match? (i.e. project codes, requester info, etc.)    /
    SAR received with samples?                                            /
    Requestor and Sampling information on SAR complete ?                 /
    Codes, Section 7, on SAR correct and complete?                       ./
                                                                           .,/
    Collector's No. on SAR legible and match container?
    Matrix correctly identified on SAR?                                  /
    Container size correct?                                               /
    Number of containers correct?                                         i/""
    Samples received with proper preservation and information?           ./'
    Analysis correctly identified for the appropriate sample?            /'
    Analysis Objective or requirement specified? (Section 10)             /
    Chain of custody correct and complete?                                 /
    Are additional analyses requested not in ARF? Yes              No ..,/ If Yes, contact supervisor or QAO
    Do samples need to be split? Yes              No . / If Yes, refer to TSP on sample splitting.

    If sample may have insufficient amount estimate weight:
    ECL#:                                                                Ero:--__
    weight of sample+ container:                                         wetght ot sa~contamer:
    comparable empty container: -                                        com~le· mpty container: -
    estimated weight of sample: =                                        estimated weight of sample: =
                                                       11.fidO.
                                                       ·u i . ..--
                                                       -
    ECL#:                                                                ECL#:
                                                 . :..--                 weight of sample + container:
    weight of sample+ container:
                                                   -
    comparable empty container: -
    estimated weight of sampl~:...---      ---
    S11pplemen/al Request Review (if necessary)_
                                                                         comparable empty container: -
                                                                         estimated weight of sample: =

                                                                                        No _ If No, specify
                                                                           Yes
    !Supplementa(reQill!St-identifieafor sample? (Section l 2)
    !Requester initial and date for supplemental request?
                                                         Page 1 of 2
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                                                          Environmental Chemistry Laboratory - Pasadena
                                                                                      Sample Receipt Checklist

      Additional Sample Amount Estimation Worksheet

                                                                                                                                 ECL#:
                                                                                                                                         -------
     weight of sample + container:                                                                                               weight of sample + container:
     comparable empty container: - - - --                                                                                        comparable empty container. -- - - -
     estimated weight of sample:                                                                                                 estimated weight of s~4e: =
                                                                                                                                                  /
     ECL#: _ _ _ __ _                                                                                                            ECL#: -   ~ / _ __
                                                                                                                                            /
     weight of sample+ container:                                                                                                weigh~ sample + container:
     comparable empty container: --- --                                                                                          conyarable empty container:
     estimated weight of sample: =                                                                                               esfimated weight of sample:
                                                                                                                             /


                                                                                                                        ')
     ECL#:___ _ _ _                                                                                               ,.,II\
                                                                                                                    /
                                                                                                                                 ECL#: _ _ _ __ _
     weight of sample+ container:                                                                              \\\/              weight of sample+ container:
     comparable empty container: -- - - -                                                            , / -';/                    comparable empty container: - - -- -
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                                                                 .:. _m  _pi;, ,l. :. e_: - ====-----1 ~ /                       estimated weight of sample:
                         /
    ,-------------------,
    ECL#: _ _ _ __                                                                          /                                    ECL#: - - - - -- -
     weight of sample+ container:
                                                                                       /                                         weight of sample+ container:
     comparable empty container: -_ __
                                     /_                                                                                          comparable empty container: -- - - -
     estimated weight of sample: =____                                                                                           estimated weight of sample: =

     ECL#: - - -- -- -                                         /                                                                 ECL#: - - - -- -
     weight of sample + container:                                                                                               weight of sample + container:
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     comparable empty container: -- - - -                                                                                        comparable empty container: - - - - -
     estimated weight of sample:                                                                                                 estimated weight of sample:

     ECL#: _ __ 1_ __                                                                                                            ECL#: - - - - - --
r    weight of sample + container:                                                                                               weight of sample+ container:
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I   comparable empty container: -- - - -
    estimate/ weight of sample: =
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I   ECL#:                             ---------                                                                                  ECL#: - - -- - - -
    wei~t ~                         le+ container:                                                                               weight of sample + container:

I   comparable empty container: - - - - -
    estimated weight of sample: =
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lmc@DTSC

From:                              Wetter, Matthew@DTSC
Sent:                              Monday, November 25, 2019 3:28 PM
To:                                lmc@DTSC; Gamon, Daniel@DTSC
Cc:                                Fernandez, Cesar@DTSC
Subject:                           RE: Collector's No.


And changing the SAR is fine on our end.

f\.lalt 'Netter, PE. O EP
Desi-. (9 16) 255-6629
Cell (9 16J 70 1-33 13

From: Wetter, Matthew@DTSC
Sent: Monday, November 25, 2019 3:27 PM
To: lmc@DTSC <lmc@dtsc.ca.gov>; Gamon, Daniel@DTSC <Daniel.Gamon@dtsc.ca.gov>
Cc: Fernandez, Cesar@DTSC <Cesar.Fernandez@dtsc.ca.goV>
Subject: RE: Collector's No.

Yes, DTSC-03-PF-ON is dust and if you can fill that in it'd be great.
DTSC-04-SL-ON and DTSC-05-SL-ON are slag (ie a hunk of metal) which is why they are in bubble wrap, to prevent
breaking the jar.
Thanks,
Mall Wetter. PE. OEP
Desk: (9 16) 255-6629
Cell (9 16) 70 1-33 13

From: lmc@DTSC <lmc@dtsc.ca.gov>
Sent: Monday, November 25, 2019 2:50 PM
To: Gamon, Daniel@DTSC <Daniel.Gamon@dtsc.ca.gov>; Wetter, Matthew@DTSC <Matthew.Wetter@dtsc.ca.gov>
Cc: Fernandez, Cesar@DTSC <Cesar. Fernandez@dtsc.ca.gov>
Subject: RE: Collector's No.

Hi Matt and Daniel,

It would be better on our end to change the SAR to match the collector's number currently on the label.

One other question we have 3 samples that do not have matrices. One, DTSC-03-PF-ON, appears to be dust and I can fill
that in if you both agree. However, DTSC-04-SL-ON aad DTSC-05-SL-ON are both in bubble and we cannot determine
the matrices. Can you let us know what matrices each one is?

Thank you,

Karen M. Cruz
Environmental Scientist
(626) 639-0507
Cal-EPA, Department of Toxic Substances Control
Environmental Chemistry Laboratory - Pasadena
757 S. Ravnurnd AH: Sun-: 105 , J>a:,;idt:11a CA 9 1105
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you.




From: Gamon, Daniel@DTSC <Daniel.Gamon@dtsc.ca.gov>
Sent: Monday, November 25, 2019 2:39 PM
To: Wetter, Matthew@DTSC <M at thew.Wetter@dtsc.ca.gov>; lmc@DTSC <lmc@dtsc.ca.gov>
Cc: Fernandez, Cesar@DTSC <Cesar.Fernandez@dtsc.ca.gov>
Subject: RE: Collector's No.

Either way is fine here. I can also update our field notes in Survey 123 to keep the label JD as it is currently.



From: Wetter, Matthew@DTSC <Matthew.Wetter@dtsc.ca.gov>
Sent: Monday, November 25, 2019 2:35 PM
To: lmc@DTSC <lmc@dtsc.ca.gov>
Cc: Gamon, Daniel@DTSC <Daniel.Gamon@dtsc.ca.gov>; Fernandez, Cesar@DTSC <Cesar.Fernandez@dtsc.ca.gov>
Subject: RE: Collector's No.

Not really preferred because then we will have (another) gap in our sample numbering.
But if it is a real hassle on your end we will survive either way.

Matt Wetter, PE, QEP
Desk (916) 255-6629
Cell (916)701-33 13


From: lmc@DTSC <lmc@dtsc.ca.gov>
Sent: Monday, November 25, 2019 2:32 PM
To: Wetter, Matthew@DTSC <Matthew.Wet ter@dtsc.ca.gov>
Cc: Gamon, Daniel@DTSC <Daniel.Gamon@dtsc.ca .gov>; Fernandez, Cesar@DTSC <Cesar.Fernandez@dtsc.ca.gov>
Subject: RE: Collector's No.

Hi Matt,

Great. It would be easier to rename the SAR to DTSC-09-PF-ON so that they match and the label would not be affected
would you like us to do this instead?

Thank you,

Karen M. Cruz
Environmental Scientist
( 6:!6 l 639-0507
Cal-EPA, Department of Toxic Substances Control
Environmenta l Chemistry Laboratory - Pasadena
757 S Ravmond AH: Sui1c I 05, PnsnJcna. CA 91105

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you.




From: Wetter, M atthew@DTSC <Matthew.Wetter@dtsc.ca.gov>
Sent: Monday, November 25, 2019 2:28 PM
To: lmc@DTSC <lmc@dtsc.ca.gov>
Cc: Gamon, Daniel@DTSC <Daniel.Gamon@dtsc ca gov>; Fernandez, Cesar@DTSC <Cesar.Fernandez@d tsc.ca.gov>
Subject: RE : Collector's No.

Hi Karen,
Thanks for the follow up.
The sample j ar labeled DTSC-09-PF-ON at 14:30 should really be DTSC-01-PF-ON.
We intended to line out samples DTSC-06-PF-ON and DTSC-07-PF-ON. So you should not have a corresponding jar for
them .
I confirmed this w/ Dan as well.
Thanks,

Mall Wetter, PE, QEP
Desk· (9 16) 255-6629
Cell (916) 701-3313


From: lmc@DTSC < lm c@dtsc.ca.gov>
Sent: Monday, November 25, 2019 1:56 PM
To: Wetter, Matthew@DTSC <Matthew.Wetter@dtsc.ca.gov>
Cc: Gamon, Daniel@ DTSC <Daniel.Gamon@dtsc.ca.gov>; Fernandez, Cesar@DTSC <Cesar.Fernandez@dtsc.ca.gov>
Subject: Collector's No.

Hi Matt,

I attached the image of the label of the sample that we are not sure on the collector's number. I have also attached another
image of the sample itself. The collector's number on the SAR is DTSC-01-PF-ON. If you could please Jet us know the
correct number that would be great.

If you have any questions let me know.

Thank you,
Karen M. Cruz
Environmental Scientist
(6~6) 639-0507
Cal-EPA, Department of Toxic Substances Control
Environmental Chemistry Laboratory - Pasadena
757 S. Ravmnnd /\n:. Sutlc 105, l'asatkna. Cl\ 91 105

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you.

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 11/13/2019                                                                 FedEx Ship Manager - Print Your Label(s)




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